          Case 2:15-cr-00144-SMJ     ECF No. 175   filed 01/26/16   PageID.655 Page 1 of 2




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                                                                                  FILED IN THE
                                                                              U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT OF WASHINGTON
2

                           UNITED STATES DISTRICT COURT
                                                                         Jan 26, 2016
3
                                                                             SEAN F. MCAVOY, CLERK
                          EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                     No. 15-CR-00144-SMJ-4
5                                                      15-CR-00144-SMJ-6
                                   Plaintiff,          15-CR-00144-SMJ-8
6                                                      15-CR-00144-SMJ-9
                    v.                                 15-CR-00144-SMJ-12
7                                                      15-CR-00144-SMJ-15
     HUNTER H. HALEY, (04),
8    JOSHUA M. TERPSTRA, (06),
     CAMILLE R. MILLAR, (08),                      PROTECTIVE ORDER
9    TASEAN E. WITHERWAX, (09)
     DUSTIN W. RHODES, (12), and
10   NICHOLE M. GOURNEAU, (15),

11                                 Defendants.

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              Before the Court, without oral argument, is the USAO’s Motion for
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     Protective Order, ECF No. 119. The Court is fully informed and grants the motion.
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     ORDER - 1
       Case 2:15-cr-00144-SMJ                         ECF No. 175                 filed 01/26/16   PageID.656 Page 2 of 2




1               Accordingly, IT IS HEREBY ORDERED:

2               1.         The USAO’s Motion to Expedite, ECF No. 120, is GRANTED.

3               2.         The USAO’s Motion for Protective Order, ECF No. 119, is

4                          GRANTED.

5               3.         The Court enters the discovery protective order at ECF No. 119-1.

6               IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

7    provide copies to all counsel.

8               DATED this 26th day of January 2016.

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10                                     SALVADOR MENDOZA, JR.
                                       United States District Judge
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     ORDER - 2
